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     Attorneys for Defendants
 7   WARRIOR TRADING, INC.;
     and ROSS CAMERON
 8

 9                           IN THE UNITED STATES DISTRICT COURT
10                        FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     JEFFREY P. FORTIS, an individual,        Case No.: 2:19-cv-00627-MCE-KHN
12
                    Plaintiff,                REQUEST FOR JUDICIAL NOTICE IN
13                                            SUPPORT OF MOTION OF
            v.                                DEFENDANTS WARRIOR TRADING,
14                                            INC. AND ROSS CAMERON FOR
     WARRIOR TRADING, INC., a Delaware        JUDGMENT ON THE PLEADINGS; OR,
15
     corporation; ROSS CAMERON, an            IN THE ALTERNATIVE, TO STAY
16   individual; and DOES 1 through 50,       THE PRESENT CASE
     inclusive,
17                                            Date:           June 13, 2019
                    Defendants.               Time:           2:00 p.m.
18                                            Location:       Courtroom 7
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                                              Removed:        April 12, 2019
20                                            Trial Date:     None set

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      REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION OF DEFENDANTS FOR JUDGMENT ON
              THE PLEADINGS; OR, IN THE ALTERNATIVE, TO STAY THE PRESENT CASE
     FPDOCS 35322140.1
     Case 2:19-cv-00627-MCE-KJN Document 5-4 Filed 05/03/19 Page 2 of 4

 1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2           Pursuant to Federal Rules of Evidence Rule 201, Defendants WARRIOR TRADING,
 3   INC. and ROSS CAMERON (collectively “Defendants”), through their attorneys of record,
 4   hereby request that the Court take judicial notice of the following:
 5           1.      Warrior Trading, Inc.’s Shareholder Agreement, dated August 18, 2016, as
 6   amended by Amendment No. 1 to the Shareholder Agreement, dated December 15, 2017, a true
 7   and correct copy of which is attached hereto as Exhibit A.
 8           2.      Warrior Trading, Inc.’s correspondence to Plaintiff and his prior counsel
 9   regarding Warrior Trading, Inc.’s Demand for Arbitration, dated January 2, 2019, a true and
10   correct copy of which is attached hereto as Exhibit B.
11           3.      Warrior Trading, Inc.’s Demand for Arbitration, dated January 2, 2019, a true and
12   correct copy of which is attached hereto as Exhibit C.
13           4.      Warrior Trading, Inc.’s Demand for Arbitration with the American Arbitration
14   Association (“AAA”), dated February 1, 2019, a true and correct copy of which is attached hereto
15   as Exhibit D.
16           5.      The AAA’s letter acknowledging receipt of Warrior Trading, Inc.’s Arbitration
17   Demand with the AAA, dated February 11, 2019, a true and correct copy of which is attached
18   hereto as Exhibit E.
19           6.      Warrior Trading, Inc.’s Verified Complaint to Compel Arbitration, and all
20   exhibits attached thereto, filed on February 21, 2019 in the Court of Chancery for the State of
21   Delaware, Case No. 2019-0140, a true and correct copy of which is attached hereto as
22   Exhibit F.
23           Under the Federal Rules of Evidence, the Court may judicially notice “a fact that is not
24   subject to reasonable dispute because it: (1) is generally known within the trial court’s territorial
25   jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy
26   cannot reasonably be questioned.” Fed R. Evid. 201. Defendants submit that Exhibits A-F are
27   proper for judicial notice pursuant to the Federal Rules of Evidence. Id.; Lyon v. Gila River
28   Indian Cmty., 626 F.3d 1059, 1075 (9th Cir. 2010) (“Courts may take judicial notice of facts
                                               1
       REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION OF DEFENDANTS FOR JUDGMENT ON
                THE PLEADINGS; OR, IN THE ALTERNATIVE, TO STAY THE PRESENT CASE
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     Case 2:19-cv-00627-MCE-KJN Document 5-4 Filed 05/03/19 Page 3 of 4

 1   whose existence is capable of accurate and ready determination by resort to sources whose
 2   accuracy cannot reasonably be questioned. . .. [Judicial notice] must be taken when a party
 3   requests it and supplies all necessary information.”) (internal quotation marks omitted); Lee v.
 4   City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001) (“[A] court may take judicial notice of
 5   ‘matters of public record.’”); Mullis v. U.S. Bankr. Court for Dist. of Nevada, 828 F.2d 1385,
 6   1388 n.9 (9th Cir. 1987) (providing pleadings are subject to judicial notice).
 7
     DATE: May 3, 2019                            FISHER & PHILLIPS LLP
 8

 9
                                            By: /s/ Alden J. Parker
10                                              Alden J. Parker, State Bar No. 196808
                                                Drew M. Tate, State Bar No. 312219
11
                                                  Attorneys for Defendants
12
                                                  WARRIOR TRADING, INC.; and ROSS
13                                                CAMERON

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       REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION OF DEFENDANTS FOR JUDGMENT ON
                THE PLEADINGS; OR, IN THE ALTERNATIVE, TO STAY THE PRESENT CASE
       FPDOCS 35322140.1
     Case 2:19-cv-00627-MCE-KJN Document 5-4 Filed 05/03/19 Page 4 of 4

 1                                   CERTIFICATE OF SERVICE
 2          I, the undersigned, am employed in the County of Sacramento, State of California. I am
 3   over the age of 18 and not a party to the within action; am employed with the law offices of
     Fisher & Phillips LLP and my business address is 621 Capitol Mall, Suite 1400, Sacramento, CA
 4   95814.

 5           On May 3, 2019, I served the foregoing document entitled REQUEST FOR JUDICIAL
       NOTICE IN SUPPORT OF MOTION OF DEFENDANTS WARRIOR TRADING, INC.
 6
       AND ROSS CAMERON FOR JUDGMENT ON THE PLEADINGS; OR, IN THE
 7     ALTERNATIVE, TO STAY THE PRESENT CASE, on all the appearing and/or interested
       parties in this action as follows:
 8
       Avi M. Attal                                     T:   (949) 812.4781
 9     Samuel Yu                                        F:   (949) 281-2105
       Mimi Ahn                                         E:   aattal@kahanafeld.com
10
       KAHANA & FELD, LLP                               E:   syu@kahanafeld.com
11     3 Hutton Centre Drive, Suite 685                 E:   mahn@kahanafeld.com
       Santa Ana, CA 92707
12                                                      Attorneys for Plaintiff
                                                        JEFFREY P. FORTIS
13

14
             [by ELECTRONIC SUBMISSION] - I served the above listed document(s) described
15           via the United States District Court’s Electronic Filing Program on the designated
             recipients via electronic transmission through the CM/ECF system on the Court’s
16           website. The Court’s CM/ECF system will generate a Notice of Electronic Filing (NEF)
             to the filing party, the assigned judge, and any registered users in the case. The NEF will
17           constitute service of the document(s). Registration as a CM/ECF user constitutes consent
18           to electronic service through the court’s transmission facilities.

19           [by MAIL] I am readily familiar with the firm's practice of collection and processing
             correspondence for mailing. Under that practice it would be deposited with the U.S.
20           Postal Service on that same day with postage thereon fully prepaid at Sacramento,
             California in the ordinary course of business. I am aware that on motion of the party
21           served, service is presumed invalid if postage cancellation date or postage meter date is
22           more than one day after date of deposit for mailing this affidavit.

23           FEDERAL - I declare that I am employed in the office of a member of the bar of this
             Court at whose direction the service was made.
24
             Executed May 3, 2019, at Sacramento, California.
25

26     Angela L. Eure                            By:     /s/ Angela L. Eure
       Print Name                                        Signature

27

28


                                            PROOF OF SERVICE
     FPDOCS 35322140.1
